                  Case 2:18-cr-01614-AM          Document 129          Filed 09/25/23        Page 1 of 3


PROB 12C
(7/93)


                                                                                COURT
                                                                                      FILED
                               UNITED STATES DISTRICT                                               s       252023
                                                            for                                CLERKLS DISTRICT COURT

                                            WESTERN DISTRICT OF TEXAS
                                                                                                BY_L.JEXAS
                                                                                                              DEpUTh' CLERK

                     Petition for Warrant or Summons for Offender Under Supervision
Name of Offender: Antonio Hernandez III                                           Case Number: DR: 8-CR-O 1614 (3)-AM
                                                                                                        1




Name of Sentencing Judicial Officer: Honorable Alia Moses, Chief United States District Judge
 Date of Original Sentence:    January 16, 2020
 Original Offense: Conspiracy to Transport Illegal Aliens, in violation of 8 U.S.C. 1324
 Original Sentence: 60 months imprisonment followed by a 3 year term of supervised release
 Type of Supervision: Supervised Release                   Date Supervision Commenced: February 13, 2023

 Assistant U.S. Attorney: Izaak Philip Bruce               Defense Attorney: Christina M. Norton (AFPD)



                                              PREVIOUS COURT ACTION

None.

                                               PETITIONING THE COURT

         The issuance of a warrant
 0       The issuance of a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

 Violation Number           Nature of Noncompliance

            1.              Special Condition: The defendant shall abstain from the use of alcohol and any and all
                            intoxicants.

           2.               Mandatory Condition No. 2: The defendant shall not unlawfully possess a controlled
                            substance.

            3.              Mandatory Condition No. 3: The defendant shall refrain from any unlawful use of a
                            controlled substance. The defendant shall submit to one drug test within 15 days of
                            release on probation or supervised release and at least two periodic drug tests thereafter
                            (as determined by the court), but the condition stated in this paragraph may be
                            ameliorated or suspended by the court if the defendant's presentence report or other
                            reliable sentencing information indicates low risk of future substance abuse by the
                            defendant.

                            On June 15, 2023, and July 10, 2023, the offender submitted urine specimens which tested
                            positive for cocaine. The offender subsequently admitted to the probation officer to the illicit
                            drug use on both occasions.
                            Case 2:18-cr-01614-AM                Document 129           Filed 09/25/23        Page 2 of 3


Antonio Hernandez lIT
DR IS-CR.016l4 (3)-AM
Petition for Warrant or Summons
Page 2

                                                                                                         which tested positive for cocaine.
                                         On August 1, 2023, the offender submitted a urine specimen
                                                                                                    with the offender to discuss the positive
                                         On August 7, 2023, the probation officer made contact
                                                                                                                  admitted to the probation
                                         drug test submitted on August 1, 2023. The offender subsequently
                                                                                                           the offender to report to the U.S.
                                         officer to the illicit drug use. The probation officer instructed
                                                                                                         for a drug test. At that point, the
                                         Probation Office in Midland, Texas, on August 8, 2023,
                                                                                                      2023, with some friends.
                                         offender readily admitted to using cocaine on August 5,

                                                                                                                       abuse
                                                           being on supervised release and completing substance
 U.S. Probation Officer Recommendation: Despite                                                                the offender's
                                                                 using controlled substances. It is evident by
 treatment, it has not deterred the offender from possessing and                                                         the
                                                                 Court that the offender is not willing to comply with
 noncompliance and disregard for the instructions set by the
                                                                          that a warrant be issued for the offender's arrest,
 conditions of his judgment. Therefore, it is respectfully recommended
 and his term of supervised release be revoked.

 The term of supervision should be:


                                                                     2    years imprisonment;       3 years    supervised release)
                     IZ       revoked.     (Maximum penalty:

                              extended for            years for a total term of         years



                                                                                             Respectfully submitted by:
  Approved by:


                                                                                             Gloria Arreola
    Darren P. Kohut
                                                                                             U.S. Probation Officer
    Supervising U.S. Probation Officer
                                                                                             Telephone: (830) 703-2089, ext. 6377
                                                                                             Date: September 21, 2023




    Approved:



     Jajfes T. Ward
     Supervisory Assistant U.S. Attorney



     cc:         Andrew Gonzales
                 Assistant Deputy Chief U.S. Probation Officer
                       Case 2:18-cr-01614-AM      Document 129         Filed 09/25/23         Page 3 of 3

Antonio Hernandez IL!
DR 18-CR-01614 (3)-AM
Petition for Warrant or Summons
Page 3




              ssuance of a WARRANT. Bond is set in the amount of $                      casWsure' with supeMsion by the
          United States Probation Office to continue as a condition of release.
         The issuance of a SUMMONS.
         Other




                                                                                  /       Honorable Ali' Moses
                                                                                  ( Chief United States District Judge



                                                                                                     ate
